                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                  No. 5:20-CV-563-M

CHARLES HALLINAN, et al.                        )
                                                )
              Plaintiffs,                       )
                                                )
              v.                                )                      ORDER
                                                )
THOMAS SCARANTINO, et al.                       )
                                                )
              Defendants.                       )



       At the direction of the Court, and for the continued efficient administration of justice, the

above-captioned case is redesignated as a Western Division Prisoner Civil Rights case. The

Richard E. Myers II, United States District Judge, will remain the presiding judge. All future

documents should reflect the new case number of 5:20-CT-3333-M. No further filing shall be

made in 5:20-CV-563-M.



       SO ORDERED. This 28th day of October, 2020.


                                                             /s/ Peter A. Moore, Jr.
                                                             Clerk of Court




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